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                                   4                                   UNITED STATES DISTRICT COURT

                                   5                                  NORTHERN DISTRICT OF CALIFORNIA

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                                   7     RED BRIDGE LAW, P.C.,                               Case No. 20-cv-08527-SK
                                   8                     Plaintiff,
                                                                                             ORDER CONTINUING CASE
                                   9              v.                                         MANAGEMENT CONFERENCE
                                  10     STEVEN LARRY KIMMEL,
                                                                                             Regarding Docket No. 19
                                  11                     Defendant.

                                  12          The parties noted that in light of Defendant’s death, they are waiting for an executor or heir
Northern District of California
 United States District Court




                                  13   to make an appearance. The parties did not state whether Defendant’s counsel has been in contact

                                  14   with anyone from Defendant’s estate and/or whether they anticipated an executor or heir to make

                                  15   an appearance. The Court HEREBY CONTINUES the Case Management Conference to May 10,

                                  16   2021. The parties shall file an updated joint case management statement by no later than May 3,

                                  17   2021. Additionally, if an executor or heir has not yet made an appearance by May 3, 2021, the

                                  18   parties shall file a request for a further continuation. In such request, the parties shall provide as

                                  19   much information as possible regarding the status of any such appearance, including whether they

                                  20   expect an appearance and an estimate regarding the timing.

                                  21          IT IS SO ORDERED.

                                  22   Dated: March 2, 2021

                                  23                                                     ______________________________________
                                                                                         SALLIE KIM
                                  24                                                     United States Magistrate Judge
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